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1     I, Dr. Nancy Ewen Wang, declare as follows:
2
3       1. This declaration is based on my personal knowledge, except as to those matters
4     based on information and belief, which I believe to be true. If called to testify in this case,
5     I would testify competently about these facts.
6       2. My name is Dr. Nancy Ewen Wang. I am a physician licensed to practice medicine
7     in the state of California, with a specialty board certification in Emergency Medicine and
8     a subspecialty board certification in Pediatric Emergency Medicine. I currently work at
9     the Stanford University Emergency Department as an attending physician. I have 22
10    years of experience working in emergency medicine and 20 years of experience working
11    as a subspecialist in pediatric emergency medicine.
12      3. I completed Medical School at Stanford Medical School in 1993, an Emergency
13    Medicine Residency at Stanford in 1996, and my Pediatric Emergency Medicine
14    fellowship at Children’s Oakland in 1999. I am a Professor in Emergency Medicine and
15    Pediatrics, and Associate Director of Pediatric Emergency Medicine and Director of the
16    Social Emergency Medicine Program at Stanford University School of Medicine. I am
17    additionally Associate Faculty at the Stanford Center for Health Policy/Primary Care and
18    Outcomes Research, Stanford; Faculty Fellow at the Stanford Center for Innovation in
19    Global Health (CIGH), Senior Faculty at the Stanford Pediatric Center for Policy
20    Outcomes and Prevention, and affiliated faculty in the Stanford Human Rights in Trauma
21    Mental Health program. My scholarly expertise is in health services research with a focus
22    on Social Emergency Medicine, or the intersection of vulnerable populations with the
23    Health Care system. My clinical expertise is in teaching generalists how to better
24    diagnose and care for children (Amieva-Wang NE, Shandro J, Sohoni A, Fassl B editors.
25    A Practical Guide to Pediatric Emergency Medicine: Caring for Children in the
26    Emergency Department. New York, NY: Cambridge University Press, 2011. ISBN
27    9780521700085.) Of note, I have practiced and taught pediatric emergency medicine in
28    resource-poor areas including Mexico, Ecuador, and Borneo Indonesia. I have recently

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1     served as a volunteer child welfare expert for the Center for Human Rights and
2     Constitutional Law and have visited unaccompanied children in ORR custody at
3     Southwest Keys Casa Padre (7/2019), Tornillo (10/19), and Homestead Influx Facility
4     (3/19).
5
6     Children’s Health
7       4.   As a pediatrician, I know the conditions that are necessary for children to survive,
8     grow, stay healthy, and thrive, and these differ from the needs of adults. Age appropriate
9     nutrition and hydration are essential to avoid serious sequelae such as dehydration,
10    electrolyte imbalance, and growth and developmental delay. Nutrition offered must be
11    appropriate for a child’s developmental age. Babies require adequate quantities of breast
12    milk or formula. Breast milk is the ideal food for infants. It is the most nutritious, offers
13    immunologic defenses, and is the most available and affordable but requires adequate
14    nutrition and hydration of the lactating mother. Formula can be adequate, but must be
15    given in appropriate quantities and be mixed with clean water in the right proportions,
16    otherwise formula can cause electrolyte imbalance, dehydration, and malnourishment.
17    Young children, as they transition to solid food, are particularly vulnerable to lack of
18    appropriate nutrition. In addition to breast milk or formula, young children require baby
19    food of the appropriate nutritional value and texture (so it can be swallowed safely
20    without the need to chew). Children, after the age of about one, require continued and
21    adequate amounts of nutritious, uncontaminated food, milk and adequate hydration.
22      5.   Young children are particularly vulnerable to their environment. They are at risk
23    of hypothermia because of their large surface area to body volume ratio. They must be
24    kept warm and covered at all times. Lack of clothing and wet clothing in cold cells
25    increase the risk of hypothermia and thus are dangerous for a child’s health. Children are
26    also at increased risk to infectious disease. The younger they are, the sicker they can get.
27    In general, it is better to prevent illness by avoiding exposure to infectious agents.
28    Exposure to other people with upper respiratory infections, and symptoms such as fever,

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1     cough, vomiting or diarrhea, and drinking from the same water as those who are sick, are
2     practices guaranteed to spread infectious disease. Dirty toilets and lack of ability to wash
3     hands after using the toilet also facilitate rapid fecal-oral spread of infectious diseases.
4       6.   Acute respiratory illness is the leading cause of child death in developing
5     countries. The younger a child is, the smaller their airways. Even the most minor viral
6     respiratory infections can become complicated and lead to respiratory insufficiency
7     causing serious and life-threatening outcomes in healthy, unstressed children. Outcomes
8     of respiratory infections are worse if a child is already sick, malnourished, dehydrated or
9     stressed. Although a child can have a viral illness for which there is no antibiotic
10    treatment, they often need supportive care such hydration and respiratory supportive care;
11    additionally, they can develop secondary infections by a bacterial pathogen after an
12    interval of improvement, thus necessitating constant vigilance and reassessment.
13      7.   Children with gastrointestinal disease (vomiting and/or diarrhea) are particularly
14    vulnerable to dehydration. Children who are malnourished are at increased risk of severe
15    disease and complications from diarrhea.
16      8.   Neonates and infants are a uniquely vulnerable population, as they have poorly
17    developed immune systems which increases the their risk of infection and the range of
18    infectious agents that can threaten their health. They also have higher rates of
19    complications and worse disease due to a decreased ability to fight infection. They
20    cannot maintain their body temperature and are at risk for hypothermia. They are difficult
21    to assess clinically and absolutely dependent on their mother, father, or other primary
22    caregiver for every need.
23      9.   When young children get sick, it is of vital importance that they are assessed
24    promptly and that they are continued to be re-assessed for any change in condition.
25    Young children are highly susceptible to respiratory failure, dehydration, and
26    overwhelming infection. They can decompensate rapidly.
27      10. As an Emergency Medicine Physician, I assess each of my patient’s “history of
28    present illness,” in other words, the conditions and situation that caused them to become

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1     sick and their symptoms. As I develop my diagnosis and therapeutic plan, I always
2     include an opportunity to reassess and follow-up. If a child does not drink or eat, is
3     listless, or has continued symptoms, he or she must be reassessed and provided
4     immediate medical support to avoid worsening disease. Part of appropriate emergency
5     medical care is continued monitoring for a child’s mental, respiratory and hydration
6     status since they can decompensate quickly.
7       11. A child’s caregiver, usually the parent, is a vital part of protecting their child’s
8     health. He/she knows the child, and will be the child’s emotional comfort as well as their
9     strongest advocate for basic necessities and medical care. A healthy relationship between
10    a caregiver and child is essential for healthy development.
11
12    Case Review
13      12. I have not personally met with the children addressed in this declaration. I am
14    making this declaration based on my clinical expertise as a pediatrician providing
15    emergency medical care to children. This statement is my own and not on behalf of any
16    group with whom I am affiliated. The following is based on a close review of the
17    children’s sworn statements.
18
19    M.I.R.C. and A.I.V.R.
20      13. I have reviewed the declaration of M.I.R.C. regarding her one-year-old daughter,
21    A.I.V.R.
22      14. A.I.V.R. is 12 months old. She became sick on the day of her arrival to CBP with
23    fever and had decreased oral intake. Although her clothes were wet, she was placed in a
24    cold cell with minimal clothing. Although A.I.V.R. would eat and breast feed several
25    times a day prior to detention, now she “barely eats.” M.I.R.C., her mother, has been
26    stressed, unable to eat, unable to drink appropriate amounts of water (due to inadequate
27    access), or sleep. She has been losing her ability to make breast milk, the best, and in this
28    situation probably the only, source of hydration and nutrition for A.I.V.R. The child has

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1     additionally been losing weight. She and her mother were exposed to many people in a
2     small space and the only water source had to be shared since there were no cups – thus
3     causing increased risk of exposure to infectious disease. The day of arrival, A.I.V.R.
4     developed a fever, and while I am unable to assess if her level of consciousness was
5     decreased, her mother states that she was so weak or listless that she “could not open her
6     eyes.” Her mother had to ask and plead for medical attention three days in a row before
7     the baby was seen. Although the baby was given antipyretics and antibiotics, the
8     prescription was not filled until the day after she was seen. Her mother has grounds to be
9     “very scared and anxious about my baby’s health and safety and what will happen to us.”
10      15. From my review of M.I.R.C.’s declaration, my professional opinion is that
11    M.I.R.C. and A.I.V.R. are not being held in conditions that are safe and sanitary or
12    consistent with the particular vulnerability of minors and that A.I.V.R. should have
13    access to emergency medical services immediately. These conditions are actually
14    dangerous. This child has decreased access to breast milk, is not eating, and is losing
15    weight. The child and mother lack safe water for hydration, thus the child has inadequate
16    nutrition as her mother is unable to make breast milk. A.I.V.R. is also not eating the food
17    provided. Without prompt access to appropriate nutrition, A.I.V.R. is at imminent risk of
18    becoming dehydrated and malnourished, which worsens her immunological state and
19    furthers her susceptibility to contracting infectious disease. The crowded conditions are
20    continuously exposing the baby and her mother to infectious agents. Part of appropriate
21    emergency medical care is continued monitoring of the child’s condition, which is not
22    being provided. A.I.V.R. and her mother should be removed from these unsafe
23    conditions and have access to emergency medical services immediately.
24
25    K.L.R.L. and N.V.T.R.
26      16. I have reviewed the declaration of K.L.R.L. regarding her one-year-old daughter,
27    N.V.T.R.
28

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1       17. N.V.T.R. is approximately 20 months old, and has had coughing, vomiting and
2     diarrhea which started five days after detention by CBP. N.V.T.R. and her mother,
3     K.L.R.L., have been placed in cold and crowded conditions. The child has not been
4     provided appropriate solid food nor adequate amounts of formula. There is not basic
5     adequate hygiene and the mother is not able to wash her hands after going to the
6     bathroom. Although the child has been sick, she does not have access to emergency
7     medical care. K.L.R.L. states “The guards told me that only the very sick babies can see
8     doctors so my baby can’t go although she has had a fever and was vomiting ... There are
9     many sick children and they are not being taken to the doctor.”
10      18. From my review of K.L.R.L.’s declaration, my professional opinion is that
11    K.L.R.L. and N.V.T.R. are not being held in conditions that are safe and sanitary or
12    consistent with the particular vulnerability of minors and that NVTR. should have access
13    to emergency medical services immediately. These conditions are actually dangerous.
14    N.V.T.R. has not had adequate access to nutrition – she has not been provided with solid
15    food appropriate for her age, and she has not been provided with adequate amounts of
16    formula. Without prompt access to appropriate nutrition, N.V.T.R. is at imminent risk of
17    becoming dehydrated and malnourished, which worsens her immunological state and
18    furthers her susceptibility to contracting infectious disease. In addition, the notion of
19    restricting care only to babies that “are very sick” (even if the guard were qualified to
20    assess the child’s health status) only worsens the outcomes, since most childhood
21    illnesses can be minor if they are corrected and supported at early stages instead of when
22    they have clinically worsened. The crowded and unsanitary conditions are continuously
23    exposing the baby and her mother to infectious disease. N.V.T.R. and her mother should
24    be removed from these unsafe conditions and have access to emergency medical services
25    immediately.
26
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1     E.T.P.E. and M.A.R.E.
2       19. I have reviewed the declaration of E.T.P.E. regarding her two-year-old niece,
3     M.A.R.E.
4       20. M.A.R.E. is an 18 month old girl who got sick approximately 2 days after arrival at
5     Ursula station. As her mother described it, “we are in a metal cage with more than 20
6     other teenagers with babies and young children.” The cramped conditions and the cold
7     necessitates that the detainees crowd together which increases the risk of contracting an
8     infectious disease from someone else (E.T.P.E. states “We have one mat we need to share
9     with each other.”). There is intimidation and lack of appropriate hygiene (E.T.P.E. states
10    “There is a place to wash our hands, but there is no soap. I have to ask for any diapers
11    and wipes for my niece. Sometimes when other girls ask for things the guards yell at us
12    and just throw them at us.”). Also, the child is not eating appropriately and is lacking
13    adequate nutrition (E.T.P.E. states “My niece cannot drink the formula they offered. …
14    the evening meal is a very cold ham sandwich. It is hard to eat, and my niece does not eat
15    much, only the apple and the chips.”). After alerting a guard about her concern for the
16    health of her child, E.T.P.E. states that they were sent to a “medical facility” for care;
17    however her description of the facility raises my concern regarding the quality of the
18    medical assessment and care given the description of the facility which seemed to cause
19    increased stress, risk of further infection from crowding and an unhygienic situation
20    (E.T.P.E. states “In the medical facility, we slept in a crowded room on the floor, with
21    only aluminum blankets, and no mat to sleep on. It was very cold. When we arrived, it
22    was so crowded there was no place to lay down on the floor so people had to sleep sitting
23    up…There was a bathroom inside the room. Everyone there was sick, both mothers and
24    children. Being around so many sick people has made me sick.”). More concerning is
25    that the toddler is not improving. (E.T.P.E. states “She cries a lot. My niece spends much
26    of the day sleeping on me, and she has very low energy. She wakes up for short periods at
27    a time. She has a deep cough. She doesn’t eat very much.”).
28

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1       21. From my review of E.T.P.E.’s declaration, my professional opinion is that E.T.P.E.
2     and M.A.R.E are not being held in conditions that are safe and sanitary or consistent with
3     the particular vulnerability of minors, and that M.A.R.E. should have access to
4     emergency medical services immediately. M.A.R.E. and E.T.P.E should both be released.
5     They are both sick and being held in crowded and unhygienic conditions risking further
6     disease. Without prompt access to appropriate nutrition, M.A.R.E. is at imminent risk of
7     becoming dehydrated and malnourished, which worsens her immunological state and
8     furthers her susceptibility to contracting infectious disease. Despite “care” she is not
9     improving and listless. The toddler is not eating appropriately and thus at further risk.
10      22. These minor children and infants should have immediate access to emergency
11    medical services. In my professional opinion as a pediatric emergency physician, the
12    appropriate place for these children to receive the services that they need is the
13    emergency department of a hospital, which has the needed capacity and capability to
14    appropriately evaluate and treat these children.
15      23. I declare under penalty of perjury under the laws of the United States of America
16    that the foregoing is true and correct. Executed on June 14, 2019 in Berlin, Germany.
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21                        Dr. Nancy Ewen Wang

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